4/28/2021Case   2:21-cv-00778-TAD-KK Document 106-2 - USPS
                                           USPS.com®  FiledTracking®
                                                             05/06/21ResultsPage 1 of 2 PageID #: 680




   USPS Tracking
                                            ®                                                            FAQs   




                                                  Track Another Package          +




                                                                                                      Remove    
   Tracking Number: 70192280000050498722

   Your item was delivered to an individual at the address at 7:26 am on April 5, 2021 in
   WASHINGTON, DC 20230.




     Delivered, Left with Individual




                                                                                                                Feedback
   April 5, 2021 at 7:26 am
   WASHINGTON, DC 20230


   Get Updates         




                                                                                                           
       Text & Email Updates


                                                                                                           
       Tracking History


       April 5, 2021, 7:26 am
       Delivered, Left with Individual
       WASHINGTON, DC 20230
       Your item was delivered to an individual at the address at 7:26 am on April 5, 2021 in WASHINGTON, DC
       20230.



       April 3, 2021, 11:46 am
       Available for Pickup
       WASHINGTON, DC 20240




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70192280000050498722                                        1/2
4/28/2021Case   2:21-cv-00778-TAD-KK Document 106-2 - USPS
                                           USPS.com®  FiledTracking®
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       April 3, 2021, 6:43 am
       Arrived at Post Office
       WASHINGTON, DC 20018



       April 2, 2021
       In Transit to Next Facility



       March 30, 2021, 11:26 pm
       Departed USPS Regional Facility
       BATON ROUGE LA PROCESSING CENTER



       March 27, 2021, 1:12 am
       Arrived at USPS Regional Facility
       BATON ROUGE LA PROCESSING CENTER




                                                                                                  
       Product Information




                                                                                                        Feedback
                                                               See Less      




                                 Can’t find what you’re looking for?
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                                                                   FAQs




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